 Case 1:18-cv-06616-PKC-LB Document 55-1 Filed 04/06/20 Page 1 of 40 PageID #: 877




 TROY LAW, PLLC                                                                                           Formatted Table
 John Troy (JT 0481)
 41-25 Kissena Boulevard Suite 119
 Flushing, NY 11355
 Tel: (718) 762-1324
 Attorney for the Plaintiff, proposed FLSA Collective
 and potential Rule 23 Class

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------ x                                     Formatted: Space Before: 0 pt
 LIYOU XING,
 on his own behalfLIYOU XING,
 YUANYUAN DUAN,
 HUALIANG LI,
 WINGKIT LOI,                                                           Case No. 18-cv-06616 (PKC) (LB)   Formatted: Font: Not Bold
 SHUK C NG-LAM,                                                                                           Formatted: Font: Not Bold, No underline
 JUNHUI YAN, and
                                                                                                          Formatted: Font: Not Bold
 JUNHUA YU,
 on behalf of themselves and of a collective and of a                   29 U.S.C. § 216(b) COLLECTIVE     Formatted: Space Before: 0 pt, After: 12 pt, Line
         class of others similarly situated, and                        ACTION & FED. R. CIV. P. 23       spacing: single
 PlaintiffAMANDA LIU,                                                   CLASS ACTION                      Formatted: Font: Not Italic
 on behalf of herself and of a class of others similarly                                                  Formatted: Indent: Left: 0", Hanging: 0.49"
         situated,
                                                                        FIRST AMENDED                     Formatted: Font: Italic
                                     Plaintiffs,
                                                                        COMPLAINT                         Formatted: Space Before: 0 pt, After: 12 pt
                                     v.                                                                   Formatted: Space After: 12 pt

 MAYFLOWER INTERNATIONAL HOTEL GROUP
 INC
 d/b/a MAYFLOWER INTERNATIONAL HOTEL                                                                      Formatted: Indent: Left: 0", Hanging: 0.49"
        andGROUP INC                                                                                      Formatted: All caps
        d/b/a Howard Johnson Hotel,
                                                                                                          Formatted: All caps
        d/b/a Wyndham Garden;
 MAYFLOWER BUSINESS GROUP, LLC
        d/b/a MAYFLOWER Hotel and                                                                         Formatted: All caps
        d/b/a Wyndham Garden;
 MAYFLOWER INN CORPORATION
 BUSINESS GROUP, LLC                                                                                      Formatted: Indent: Left: 0", Hanging: 0.49"
        d/b/a Mayflower Hotel and
        d/b/a Wyndham Garden,
        d/b/a Wyndham Garden;
 MAYFLOWER WENYU LLC
 d/b/a MAYFLOWER INN CORPORATION                                                                          Formatted: Indent: Left: 0", Hanging: 0.49"
        d/b/a Howard Johnson Hotel and,                                                                   Formatted: All caps
        d/b/a Wyndham Garden;
 YAN ZHI HOTEL MANAGEMENT INC.


TTroy                                                 1 of 40                            Complaint
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 MAYFLOWER WENYU LLC                                                                              Formatted: Indent: Left: 0", Hanging: 0.49"
     d/b/a Mayflower Hotel and
     d/b/a Wyndham Garden,
     d/b/a Wyndham Garden;
 MAYFLOWERYAN ZHI HOTEL MANAGEMENT
     INC.
     d/b/a Howard Johnson Hotel,
 MAYFLOWER 1-1 LLC                                                                                Formatted: All caps
                                                                                                  Formatted: Indent: Left: 0", Hanging: 0.49"
      d/b/a MayflowerHoward Johnson Hotel and,
      d/b/a Wyndham Garden;
 YUEHUA HU,
 WEI HONG HU YUEHUA HU,
 WEI HONG HU                                                                                      Formatted: Indent: Left: 0", Hanging: 0.49"
      a/k/a Weihong Hu, and
 XIAOZHUANG GE

 XIAOZHUANG GE,
                                     Defendants.
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        Plaintiff LIYOU XINGPlaintiffs LIYOU XING, YUANYUAN DUAN, HUALIANG LI,                    Formatted: Justified, Space After: 0 pt

WINGKIT LOI, SHUK C NG-LAM, JUNHUI YAN, and JUNHUA YU, (hereinafter referred to

as Plaintiff),collectively, the “FLSA-and-NYLL Plaintiffs”), and AMANDA LIU, (hereinafter the

“NYLL Plaintiff”) (collectively with the FLSA-and-NYLL Plaintiffs, the “Plaintiffs”), on behalf

of himselfthemselves and others similarly situated, by and through his attorneytheir attorneys,

Troy Law, PLLC, hereby bringsbring this complaint against Defendants MAYFLOWER

INTERNATIONAL HOTEL GROUP INC d/b/a MAYFLOWER INTERNATIONAL HOTEL                                 Formatted: All caps
                                                                                                  Formatted: All caps
and d/b/a Wyndham Garden; MAYFLOWER BUSINESS GROUPGROUP INC d/b/a Howard

Johnson Hotel, MAYFLOWER BUSINESS GROUP, LLC d/b/a Mayflower Hotel and d/b/a                      Formatted: All caps

Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a Mayflower Hotel and d/b/a

Wyndham Garden; MAYFLOWER WENYU LLC d/b/a, MAYFLOWER INN CORPORATION                              Formatted: All caps

d/b/a Howard Johnson Hotel and d/b/a Wyndham Garden; YAN ZHI HOTEL MANAGEMENT




TTroy                                                 2 of 40                Complaint
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INC. d/b/a, MAYFLOWER Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1WENYU                          Formatted: All caps
                                                                                                      Formatted: All caps
LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden, YUEHUA HU, WEI HONG HUYAN

ZHI HOTEL MANAGEMENT INC. d/b/a Howard Johnson Hotel, MAYFLOWER 1-1 LLC d/b/a

Howard Johnson Hotel, YUEHUA HU, WEI HONG HU a/k/a Weihong Hu, and XIAOZHUANG

GEXIAOZHUANG GE, and allegesallege as follows:

                                       INTRODUCTION                                                   Formatted: Line spacing: single

        1.     This action is brought by the Plaintiff LIYOU XING,Plaintiffs on behalf of             Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                      Right: 0"
himselfthemselves as well as other employees similarly situated, against the Defendants for alleged

violations of the Fair Labor Standards Act, (hereinafter “FLSA)”), 29 U.S.C. § 201 et seq.., and

New York Labor Law (hereinafter “NYLL),”), N.Y. Lab. L., arising from Defendants’ various

willfully and unlawful employment policies, patterns and practices.

        2.     Upon information and belief, Defendants have willfully and intentionally commit-

ted widespread violations of the FLSA and NYLL by engaging in pattern and practice of failing

to pay itstheir employees, including PlaintiffPlaintiffs, minimum wage for each hour worked and

overtime compensation for all hours worked over forty (40) each workweek.

        3.     Plaintiff allegesThe FLSA-and-NYLL Plaintiffs allege, pursuant to the FLSA, that

he isthey are entitled to recover from the Defendants: (1) unpaid minimum wages and unpaid

overtime wages, (2) liquidated damages equal to the sum of unpaid minimum wages and unpaid

overtime, (3) prejudgment and post-judgement interest; and or (4) attorney’s fees and costcosts.

        4.     PlaintiffPlaintiffs further allegesallege pursuant to NYLL §Section 650 et seq.        Formatted: Font: Italic

andof the NYLL and Part 146 of Title 12 the New York Codes, Rules and Regulations § 146

(NYCRR)(hereinafter the “Wage Order”) that he isthey are entitled to recover from the Defendants:

(1) unpaid wage compensation and minimum wages, unpaid overtime compensation, (2) , and

unpaid spread-of-hours premium, (2) liquidated damages equal to the sum of unpaid minimum


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wages, unpaid overtime, and unpaid spread-of-hours, (3) up to five thousand dollars ($$5,000) per

Plaintiff for Defendants’ failure to provide a Time of Hire Notice detailing rates of pay and payday,

(4) up to five thousand dollars ($5,000).00 per Plaintiff for Defendants’ failure to provide a paystub

that accurately and truthfully lists employee’s hours along with the employee’s name, employer’s

name, employer’s address and telephone number, employee’s rate or rates of pay, any deductions

made from employee’s wages, any allowances claimed as part of the minimum wage notice com-

pliant with Section 195.1(a) of the NYLL at time of hire or thereafter, (4) up to $5,000.00 per

Plaintiff for Defendants’ failure to provide wage, and the employee’s gross and net wages for

statements with each pay daypayment of wages compliant with Section 195.1(d) of the NYLL, (5)

liquidated damages equal to the sum of unpaid minimum wage, unpaid “spread of hours” premium,

unpaid overtime in the amount of twenty five percent under NYLL § 190 et seq., § 650 et seq., and

one hundred percent after April 9, 2011 under NY Wage Theft Prevention Act, % per annum pre-

judgment interest, (6) 9% simple prejudgment interest provided by NYLL, (7) post-judgment in-

terest, and (87) attorney’s fees and costs.

                                    JURISDICTION AND VENUE                                               Formatted: Space After: 12 pt, Line spacing: single

        5.     This Court has original federal question jurisdiction over this controversy under 29      Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                         Right: 0"
U.S.C. § 216(b) and 28 U.S.C. § 1331, and has supplemental jurisdiction over the NYLL claims

pursuant to 28 U.S.C. § 1367(a).

        6.     Venue is proper in the Eastern District of New York pursuant to 28 U.S.C. §§

1391(b) and (c), because Defendants conduct business in this District, and the acts and omissions

giving rise to the claims herein alleged took place in this District.




TTroy                                          4 of 40                             Complaint
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                                          PLAINTIFF

                                         PLAINTIFFS

FLSA-and-NYLL Plaintiffs

        7.    From on or about September 05, 2016 tothrough on or about March 02, 2017, Plain-   Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                 Right: 0"
tiff LIYOU XING worked as a Construction WorkerLIYOU XING was employed by Defendants

to workas a construction worker at the Mayflower Hotel at 61-27 186th Street, Fresh Meadows,

NY 11365.

        8.    From on or about March 03, 2017 tothrough on or about August 15, 2018, Plaintiff

LIYOU XING worked as a ChefLIYOU XING was employed by Defendants to workas a chef at

the affiliated restaurant (WyndamWyndham Garden) inside the Mayflower Hotel at 61-27 186th

Street, Fresh Meadows, NY 11365.



        9.    From on or about November 5, 2016 through on or about November 26, 2017,

Plaintiff YUANYUAN DUAN was employed by Defendants as a miscellaneous worker at the

Mayflower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        10.   From on or about March 2, 2018 through on or about May 31, 2018, Plaintiff

YUANYUAN DUAN was employed by Defendants as a miscellaneous worker at the Mayflower

Hotel at 61-27 186th Street, Fresh Meadows, NY 1136.

        11.   From on or about February 1, 2017 through on or about May 31, 2017, Plaintiff

HUALIANG LI was employed by Defendants as a chef at the affiliated restaurant (Wyndham

Garden) inside the Mayflower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        12.   From on or about August 1, 2014 through on or about June 30, 2015, Plaintiff

WINGKIT LOI was employed by Defendants as a construction worker at the Howard Johnson



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Hotel at 38-59 12th Street, Long Island City, NY 11101.

        13.   From on or about July 3, 2015 through on or about August 15, 2017, Plaintiff

WINGKIT LOI was employed by Defendants as a construction worker and mechanic at the May-

flower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        14.   From on or about August 1, 2016 through on or about January 31, 2018, Plaintiff

SHUK C NG-LAM was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-

27 186th Street, Fresh Meadows, NY 11365.

        15.   From on or about August 24, 2016 through on or about August 20, 2018, Plaintiff

JUNHUI YAN was employed by Defendants as a mechanic and manager’s assistant at the May-

flower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        16.   From on or about August 1, 2017 through on or about August 20, 2017, Plaintiff

JUNHUI YAN was transferred temporarily by Defendants to work as a mechanic and manager’s

assistant at the Howard Johnson Hotel at 38-59 12th Street, Long Island City, NY 11101.

        17.   From on or about September 17, 2017 through on or about August 2, 2018, Plaintiff

JUNHUA YU was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-27

186th Street, Fresh Meadows, NY 11365.

        18.   From on or about August 3, 2018 through on or about February 28, 2019, Plaintiff

JUNHUA YU was employed by Defendants as a housekeeper at the Howard Johnson Hotel at 38-

59 12th Street, Long Island City, NY 11101.

NYLL Plaintiffs

        19.   From on or about September 6, 2016 through on or about February 28, 2017, Plain-

tiff AMANDA LIU was employed by Defendants as a sanitation worker at the Mayflower Hotel

at 61-27 186th Street, Fresh Meadows, NY 11365.

        20.   From on or about March 1, 2017 through on or about March 31, 2017, Plaintiff


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AMANDA LIU was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-27

186th Street, Fresh Meadows, NY 11365.

                                            DEFENDANTS                                               Formatted: Right: 0", Space After: 12 pt, Line spacing:
                                                                                                     single
Corporate Defendants                                                                                 Formatted: No underline

        10.21. Defendant MAYFLOWER INTERNATIONAL HOTEL GROUP INC d/b/a                               Formatted: No underline, Not Expanded by /
                                                                                                     Condensed by

MAYFLOWER INTERNATIONAL HOTEL andGROUP INC d/b/a/ Wyndham Garden Howard                              Formatted: No underline
                                                                                                     Formatted: No underline, Not Expanded by /
Johnson Hotel is a domestic business corporation organized under the laws of the State of New        Condensed by
                                                                                                     Formatted: Heading 3, None, Indent: First line: 0",
York with a principal address at 38-59 12th Street, Long Island City, NY 11101.                      Right: 0", Space After: 12 pt, Line spacing: single,
                                                                                                     Don't keep with next, Don't keep lines together
        11.22. Defendant MAYFLOWER BUSINESS GROUPMAYFLOWER BUSINESS                                  Formatted: No underline
                                                                                                     Formatted: No underline, Not Expanded by /
GROUP, LLC d/b/a Mayflower Hotel and d/b/a/ Wyndham Garden is a domestic business corpo-             Condensed by
                                                                                                     Formatted: No underline
ration organized under the laws of the State of New York with a principal address at 61-27 186th
                                                                                                     Formatted: No underline, Not Expanded by /
Street, Fresh Meadows, NY 11365.                                                                     Condensed by
                                                                                                     Formatted: No underline
        12.23. Defendant MAYFLOWER INN CORPORATION d/b/a MayflowerHoward                             Formatted: No underline, Not Expanded by /
                                                                                                     Condensed by
Johnson Hotel and d/b/a/ Wyndham Garden is a domestic business corporation organized under           Formatted: No underline
                                                                                                     Formatted: Font: Not Bold
the laws of the State of New York with a principal address at 38-59 12th Street, Long Island City,
                                                                                                     Formatted: All caps
NY 11101.                                                                                            Formatted: All caps
                                                                                                     Formatted: All caps
        13.24. Defendant MAYFLOWER WENYUMAYFLOWER WENYU LLC d/b/a
                                                                                                     Formatted: All caps

Mayflower Hotel and d/b/a/ Wyndham Garden is a domestic business corporation organized under

the laws of the State of New York with a principal address at 61-27 186th Street, Fresh Meadows,

NY 11365.

        14.25. Defendant YAN ZHI HOTEL MANAGEMENT INC. d/b/a MayflowerHoward

Johnson Hotel and d/b/a/ Wyndham Garden is a domestic business corporation organized under

the laws of the State of New York with a principal address at 38-61 12th Street, Long Island City,

NY 11101.


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        15.26. Defendant MAYFLOWER 1-1 LLC d/b/a MayflowerHoward Johnson Hotel and

d/b/a/ Wyndham Garden is a domestic business corporation organized under the laws of the State

of New York with a principal address at 38-59 12th Street, Long Island City, NY 11101.

Owner/OperatorIndividual Defendants                                                                 Formatted: No underline, Not Expanded by /
                                                                                                    Condensed by
        16.27. The Individual Defendants are officers, directors, managers and/or majority share-   Formatted: No underline
                                                                                                    Formatted: No underline, Not Expanded by /
holders or owners of the Corporate Defendant and being among the ten largest shareholders and/or
                                                                                                    Condensed by

LLC members, are individually responsible for unpaid wages under the Section 630(a) of the New      Formatted: No underline
                                                                                                    Formatted: No underline, Not Expanded by /
York Business Corporation Law and Section 609(c) of the New York Limited Liability Company          Condensed by
                                                                                                    Formatted: No underline
Law. NYBSC § 630(a), NYLLC § 609(c).                                                                Formatted: No underline, Not Expanded by /
                                                                                                    Condensed by
        17.28. YUEHUA HU known as “Boss” to PlaintiffPlaintiffs, (1) had the power to hire and
                                                                                                    Formatted: No underline

fire employees, (2) supervised and controlled employee work schedules or conditions of employ-      Formatted: Font: Not Bold


ment, (3) determined the rate and method of payment, and (4) maintained employee records for

MAYFLOWER INTERNATIONAL HOTEL GROUP INCMAYFLOWER INTERNATIONAL

HOTEL GROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER Hotel and d/b/a Wyndham                       Formatted: All caps

Garden; MAYFLOWER BUSINESS GROUPBUSINESS GROUP, LLC d/b/a Mayflower Hotel                           Formatted: All caps

andd/b/a Wyndham Garden, MAYFLOWER INN CORPORATION d/b/a Wyndham Garden;

MAYFLOWER INN CORPORATION d/b/a Mayflower Hotel and d/b/a Wyndham Garden;

MAYFLOWER WENYUHoward Johnson Hotel, MAYFLOWER WENYU LLC d/b/a                                      Formatted: All caps

Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI HOTEL MANAGEMENT INC. d/b/a

Mayflower Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a

Mayflowerd/b/a Wyndham Garden, YAN ZHI HOTEL. MANAGEMENT INC. d/b/a Howard                          Formatted: All caps

Johnson Hotel, and MAYFLOWER 1-1 LLC d/b/a Howard Johnson Hotel.

        18.29. YUEHUA HU acted intentionally and maliciously and is an employer pursuant to

FLSA, 29 U.S.C. § 203(d)), and regulations promulgated thereunder, 29 C.F.R. § 791.2, , NYLL,


TTroy                                        8 of 40                           Complaint
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N.Y. Lab. L. § 2, and the regulations thereunderWage Order, and is jointly and severally liable

with MAYFLOWER INTERNATIONAL HOTEL GROUP INC d/b/a MAYFLOWER                                      Formatted: All caps

INTERNATIONAL HOTEL and d/b/a Wyndham Garden; MAYFLOWER BUSINESS                                  Formatted: All caps

GROUPGROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER BUSINESS GROUP, LLC                          Formatted: All caps

d/b/a Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a

, MAYFLOWER INN CORPORATION d/b/a Howard Johnson Hotel and d/b/a Wyndham Garden;                  Formatted: All caps

MAYFLOWER WENYU, MAYFLOWER WENYU LLC d/b/a Mayflower Hotel and d/b/a                              Formatted: All caps

Wyndham Garden; YAN ZHI HOTEL MANAGEMENT INC., YAN ZHI HOTEL

MANAGEMENT INC. d/b/a Howard Johnson Hotel, and MAYFLOWER Hotel and d/b/a                         Formatted: All caps

Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a MayflowerHoward Johnson Hotel.                        Formatted: All caps

        19.30. WEI HONG HUWEI HONG HU a/k/a Weihong Hu, known as “General Manager

Hu” to Plaintiff, andis the CEO of and DOS Process of MAYFLOWER INTERNATIONAL

HOTEL GROUP INC d/b/a recipient for MAYFLOWER INTERNATIONAL HOTEL GROUP                           Formatted: All caps

INC d/b/a Howard Johnson Hotel and YAN ZHI HOTEL MANAGEMENT INC.YAN ZHI

HOTEL MANAGEMENT INC. d/b/a MayflowerHoward Johnson Hotel;, and New York

Alcoholic Beverage Control principal for MAYFLOWER WENYUMAYFLOWER WENYU                           Formatted: All caps

LLC d/b/a Mayflower Hotel d/b/a Wyndham Garden, and in those roles (1) had the power to hire

and fire employees, (2) supervised and controlled employee work schedules or conditions of em-

ployment, (3) determined the rate and method of payment, and (4) maintained employee records

for MAYFLOWER INTERNATIONAL HOTEL GROUP INC d/b/a MAYFLOWER                                       Formatted: All caps

INTERNATIONAL HOTEL and d/b/a Wyndham Garden; MAYFLOWER BUSINESS                                  Formatted: All caps

GROUPGROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER BUSINESS GROUP, LLC                          Formatted: All caps

d/b/a Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a




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, MAYFLOWER INN CORPORATION d/b/a Howard Johnson Hotel and d/b/a Wyndham Garden;                Formatted: All caps

MAYFLOWER WENYU, MAYFLOWER WENYU LLC d/b/a Mayflower Hotel and d/b/a                            Formatted: All caps

Wyndham Garden; YAN ZHI HOTEL MANAGEMENT INC., YAN ZHI HOTEL

MANAGEMENT INC. d/b/a Howard Johnson Hotel, and MAYFLOWER Hotel and d/b/a                       Formatted: All caps

Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a MayflowerHoward Johnson Hotel.                      Formatted: All caps

        20.31. WEI HONG HUWEI HONG HU a/k/a Weihong Hu is the signatory of all the big

and small invoices at Mayflower.

        21.32. WEI HONG HUWEI HONG HU a/k/a Weihong Hu fired Plaintiff LIYOU XING.

        22.33. WEI HONG HUWEI HONG HU a/k/a Weihong Hu is the wife of XIAOZHUANG

GEXIAOZHUANG GE.

        23.34. WEI HONG HUWEI HONG HU a/k/a Weihong Hu acted intentionally and mali-

ciously and is an employer pursuant to FLSA, 29 U.S.C. § 203(d)), and regulations promulgated

thereunder, 29 C.F.R. § 791.2, , NYLL, N.Y. Lab. L. § 2, and the regulations thereunderWage

Order, and is jointly and severally liable with MAYFLOWER INTERNATIONAL HOTEL

GROUP INC d/b/a MAYFLOWER INTERNATIONAL HOTEL and d/b/a Wyndham Garden;                         Formatted: All caps
                                                                                                Formatted: All caps
MAYFLOWER BUSINESS GROUPGROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER

BUSINESS GROUP, LLC d/b/a Mayflower Hotel andd/b/a Wyndham Garden, MAYFLOWER                    Formatted: All caps

INN CORPORATION d/b/a Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a

Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER WENYUHoward Johnson Hotel,

MAYFLOWER WENYU LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI                     Formatted: All caps

HOTEL MANAGEMENT INC., YAN ZHI HOTEL MANAGEMENT INC. d/b/a Howard

Johnson Hotel, and MAYFLOWER Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1                  Formatted: All caps
                                                                                                Formatted: All caps
LLC d/b/a MayflowerHoward Johnson Hotel.




TTroy                                     10 of 40                         Complaint
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        24.35. XIAOZHUANG GE and New York Alcoholic Beverage Control principal for

MAYFLOWER INTERNATIONAL HOTEL GROUP INC d/b/a Mayflower Hotel and

MAYFLOWER WENYU LLC d/b/a Wyndham Garden, (1) had the power to hire and fire em-

ployees, (2) supervised and controlled employee work schedules or conditions of employment, (3)

determined the rate and method of payment, and (4) maintained employee records for

MAYFLOWER         INTERNATIONAL          HOTEL        GROUP     INC    d/b/a    MAYFLOWER         Formatted: All caps

INTERNATIONAL HOTEL and d/b/a Wyndham Garden; MAYFLOWER BUSINESS                                  Formatted: All caps

GROUPGROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER BUSINESS GROUP, LLC                          Formatted: All caps

d/b/a Mayflower Hotel andd/b/a Wyndham Garden, MAYFLOWER INN CORPORATION d/b/a

Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a Mayflower Hotel and d/b/a

Wyndham Garden; MAYFLOWER WENYUHoward Johnson Hotel, MAYFLOWER WENYU                              Formatted: All caps

LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI HOTEL MANAGEMENT

INC., YAN ZHI HOTEL MANAGEMENT INC. d/b/a Howard Johnson Hotel, and MAY-                          Formatted: All caps

FLOWER Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a                                Formatted: All caps

MayflowerHoward Johnson Hotel.

        25.36. XIAOZHUANG GE managesXIAOZHUANG GE managed the construction work

for Defendants, including work by Plaintiff as construction workerwork by Plaintiffs LIYOU

XING and WINGKIT LOI.

        26.37. XIAOZHUANG GEXIAOZHUANG GE acted intentionally and maliciously and                 Formatted: Not All caps

is an employer pursuant to FLSA, 29 U.S.C. § 203(d)), and regulations promulgated thereunder,

29 C.F.R. § 791.2, , NYLL, N.Y. Lab. L. § 2, and the regulations thereunderWage Order, and is

jointly and severally liable with MAYFLOWER INTERNATIONAL HOTEL GROUP INC d/b/a

MAYFLOWER INTERNATIONAL HOTEL and d/b/a Wyndham Garden; MAYFLOWER                                 Formatted: All caps
                                                                                                  Formatted: All caps



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BUSINESS GROUPGROUP INC d/b/a Howard Johnson Hotel, MAYFLOWER BUSINESS

GROUP, LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden, MAYFLOWER INN                             Formatted: All caps

CORPORATION d/b/a Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a

Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER WENYUHoward Johnson Hotel,

MAYFLOWER WENYU LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI                          Formatted: All caps

HOTEL MANAGEMENT INC., YAN ZHI HOTEL MANAGEMENT INC. d/b/a Howard

Johnson Hotel, and MAYFLOWER Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1                       Formatted: All caps
                                                                                                     Formatted: All caps
LLC d/b/a MayflowerHoward Johnson Hotel.



                                    STATEMENT OF FACTS                                               Formatted: Indent: First line: 0", Right: 0", Space After:
                                                                                                      12 pt, Line spacing: single
Corporate Defendants Constitute an Enterprise                                                        Formatted: Left, Space After: 12 pt, Line spacing:
                                                                                                     single
        27.38. Upon     information     and    belief,    Corporate   Defendants    MAYFLOWER
                                                                                                     Formatted: Font: Italic, No underline

INTERNATIONAL HOTEL GROUP INC d/b/a MAYFLOWER INTERNATIONAL HOTEL                                    Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                     Right: 0"
andGROUP INC d/b/a Wyndham Garden; MAYFLOWER BUSINESS GROUPHoward Johnson                            Formatted: All caps
                                                                                                     Formatted: All caps
Hotel, MAYFLOWER BUSINESS GROUP, LLC d/b/a Mayflower Hotel andd/b/a Wyndham
                                                                                                     Formatted: All caps

Garden, MAYFLOWER INN CORPORATION d/b/a Wyndham Garden; MAYFLOWER INN

CORPORATIONHoward Johnson Hotel, MAYFLOWER WENYU LLC d/b/a Mayflower Hotel

and d/b/a Wyndham Garden; MAYFLOWER WENYU LLC, YAN ZHI HOTEL

MANAGEMENT INC. d/b/a Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI HOTEL

MANAGEMENT INC. d/b/a Mayflower Hotel and d/b/a Wyndham Garden; and MAYFLOWER

Howard Johnson Hotel, and MAYFLOWER 1-1 LLC d/b/a MayflowerHoward Johnson Hotel are                  Formatted: All caps

joint employers of Plaintiff and constitute ana single enterprise as the term is defined by 29 USC

§203(r) insofar as the following are true:).

        28.39. Defendants shareoperating a hotel and restaurant at the same location shared staff,


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including Plaintiff. LIYOU XING (construction worker at Mayflower Hotel and chef at affiliated

restaurant Wyndham Garden)

        40.    Defendants traintransfer staff like Plaintiff by assigning them to “between locations

to work on a more or less permanent basis, including Plaintiffs WINGKIT LOI, JUNHUI YAN,

and JUNHUA YU.

        29.41. Defendants assign trainee workers, including Plaintiff LIYOU XING, who will             Formatted: Justified, Indent: Left: 0", First line: 0.5",
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work in one location on a more or less permanent basis, to learn the trade” (in Plaintiff’s case,

“how to make breakfast”) to observejob at an alternative location under more experienced staff at

alternative locations.

        30.42. To illustrate, Plaintiff LIYOU XING was assigned to the Wyndham hotelHoward

Johnson Hotel at 38-59 12th Street, Long Island City, NY 11101 to learn how to “make breakfast”

by the Manager “Ah Mei Chen” prior to the opening of the WyndamWyndham Garden restaurant

inside the Mayflower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        31.    Defendants pay Plaintiff as the shareholders of the enterprise.

        32.43. While Plaintiff worked for the WyndamWyndham Garden, he was paid by check-              Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                       Right: 0"
checks issued by YAN ZHI HOTEL MANAGEMENT INC.YAN ZHI HOTEL MANAGEMENT

INC. d/b/a Howard Johnson Hotel and MAYFLOWER Hotel and MAYFLOWER                                      Formatted: All caps

WENYUWENYU LLC d/b/a Mayflower Hotel d/b/a Wyndham Garden.                                             Formatted: All caps

        33.44. Defendants advertise (on business cards) the Corporate Defendants as an enterprise.

        34.45. Defendants are co-owned by the same partners, namely Owner/ OperatorIndividual

Defendants YUEHUA HU, WEI HONG HU and XIAOZHUANG GE.

        35.46. The Mayflower Hotel owns the Hotels doing business as “Mayflower MotelHotel”

and Restaurants doing business as “Wyndham Garden” inside the Mayflower Hotels.




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        36.    At all times relevant herein, Corporate Defendants MAYFLOWER

INTERNATIONAL HOTEL GROUP INC d/b/a Mayflower Hotel and d/b/a Wyndham

Garden; MAYFLOWER BUSINESS GROUP, LLC d/b/a Mayflower Hotel and d/b/a

Wyndham Garden; MAYFLOWER INN CORPORATION d/b/a Mayflower Hotel and d/b/a

Wyndham Garden; MAYFLOWER WENYU LLC d/b/a Mayflower Hotel and d/b/a

Wyndham Garden; YAN ZHI HOTEL MANAGEMENT INC. d/b/a Mayflower Hotel and

d/b/a Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a Mayflower Hotel was, and con-

tinues to be, an “enterprise engaged in commerce” within the meaning of FLSA.

        37.47. In particular, as the enterprise comprised of Corporate Defendants,The single          Formatted: Indent: Left: 0", First line: 0.5", Right: 0"

enterprise is a business engaged in interstate commerce that has gross sales in excess of five hun-

dred thousand dollars ($500,000) per year.

        38.48. Furthermore, theThe enterprise purchased and handled goods moved in interstate

commerce.

        49.    At all relevant times, the work performed by PlaintiffPlaintiffs was directly essen-

tial to the business operated by Corporateenterprise’s operations.

        39.50. Alternatively, the Defendants MAYFLOWER INTERNATIONAL HOTEL                            Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                      Right: 0"
GROUP INC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER BUSINESS

GROUP, LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER INN

CORPORATION d/b/a Mayflower Hotel and d/b/a Wyndham Garden; MAYFLOWER WENYU

LLC d/b/a Mayflower Hotel and d/b/a Wyndham Garden; YAN ZHI HOTEL MANAGEMENT

INC. d/b/a Mayflower Hotel and d/b/a Wyndham Garden; and MAYFLOWER 1-1 LLC d/b/a

Mayflower Hotelwere joint employers of Plaintiffs.

Wage and Hour Claims                                                                                  Formatted: Font: Italic, No underline
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        40.51. Defendants committed the following alleged acts knowingly, intentionally and will-       Formatted: Justified, Indent: Left: 0", First line: 0.5",
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fully against the PlaintiffPlaintiffs, the FLSA Collective Plaintiffs, and the Class.

        41.52. At all relevant times, Defendants knowingly and willfully failed to pay

PlaintiffPlaintiffs and similarly situated employees at least the New York minimum wage for at

least some of the hours worked.

        42.53. At all relevant times, Defendants knowingly and willfully failed to pay Plaintiff

hisPlaintiffs their lawful overtime compensation of one and one-half times (1.5x) their regular

raterates of pay for all hours worked over forty (40) in a given workweek.

        43.54. While employed by Defendants, Plaintiff wasPlaintiffs were not exempt under fed-

eral and state laws requiring employers to pay employees overtime.

        44.55. Defendants failed to keep full and accurate records of Plaintiff'sPlaintiffs’ hours

and wages.

        45.56. Upon information and belief, Defendants failed to keep full and accurate records in

order to mitigate liability for their wage violations. Defendants never furnished any notice of their

use of tip credit.

        46.57. At all relevant times, Defendants knowingly and willfully failed to provide Plaintiff

and similarly situated employees with Time of Hire Notice reflecting true rates of pay and payday

as well as paystub that lists employee’s name, employer’s name, employer’s address and telephone

number, employee’s rate or rates of pay, any deductions made from employee’s wages, any allow-

ances claimed as part of the minimum wage, and the employee’s gross and net wages for each pay

day.

        47.58. Defendants knew that the nonpayment of overtime pay and New York’s “spread of

hours” premium for every day in which Plaintiff worked over ten (10) hours would financially




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injure Plaintiff and similarly situated employees and violate state and federal laws.

         48.59. Defendants did not post the required New York State Department of Labor posters

regarding minimum wage pay rates, overtime pay, tip credit, and pay day.

Plaintiff LIYOU XINGLIYOU XING                                                                          Formatted: No underline
                                                                                                        Formatted: Font: Not Bold
         49.60. From on or about September 05, 2016 tothrough on or about March 02, 2017, Plain-

tiff LIYOU XING worked as a Construction Worker LIYOU XING was employed by Defendants

to workas a construction worker at the Mayflower Hotel at 61-27 186th Street, Fresh Meadows,

NY 11365.

         50.61. From on or about March 03, 2017 tothrough on or about August 15, 2018, Plaintiff

LIYOU XING worked as a ChefLIYOU XING was employed by Defendants to workas a chef at

the affiliated restaurant (WyndamWyndham Garden) inside the Mayflower Hotel at 61-27 186th

Street, Fresh Meadows, NY 11365.

         51.62. From on or about March 03, 2017 tothrough on or about March 06, 2017, for four

days, Plaintiff LIYOU XINGLIYOU XING was assigned by Manager “Ah Mei Chen” to “learn

how to make breakfast” at the Howard Johnson Hotel at 38-59 12th Street, Long Island City, NY

11101.

         52.63. From on or about September 05, 2016 to through on or about March 02, 2017,

Plaintiff LIYOU XING’sLIYOU XING’s regular work schedule ran from 09:00 to 18:00 with one

(1) one-hour meal break for , five days per week and eight (8) hours aper day, for a total of 40

hours each week.

         53.64. From on or about March 03, 2017 tothrough on or about April 02, 2017, Plaintiff

LIYOU XING’sLIYOU XING’s regular work schedule ran from for an average of nine and a half

(9.5) hours a day acrossincluded early shifts from 06:00 to 15:00 (early shifts) for nine (9) hours a

day and middle shifts from 10:00- to 20:00 (middle shifts) for ten (10)hours a day, or on avergae


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9.5 hours aper day, for seven (7) days a week for a total of 66.5 hours each week.

        65.    From on or about June 01, 2017 tothrough on or about June 30, 2017, Plaintiff

LIYOU XING’sLIYOU XING’s regular work schedule ran from from 11:00 to 21:00 for ten hours

a day, for six days a week for a total of 60 hours each week.

        54.    From on or about July 01, 2017 through on or about August 31, 2017, Plaintiff

LIYOU XING’s regular work schedule ran from from 11:00 to 21:00 for ten (10) hours a day

for six (6) days a week for a total of 66 hours each week.

        55.66. From on or about July 01, 2017 to August 31, 2017, Plaintiff LIYOU XING’s           Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                   Right: 0"
regular work schedule ran from from 11:00 to 21:00 for ten (10) hours a day for seven (7) days a

week for a total of 7770 hours each week.

        56.67. From on or about September 01, 2017 tothrough on or about August 15, 2018,

Plaintiff LIYOU XING’sLIYOU XING’s regular work schedule ran from from 11:00 to 23:00 for

twelve (12)hours for six (6) days a week for a total of 72 hours each week.

        57.68. At all relevant times, Plaintiff LIYOU XINGLIYOU XING did not have a fixed

time for lunch or for dinner.

        58.69. In fact, Plaintiff LIYOU XINGLIYOU XING had thirty (30) minutes to eat and

even then he was on call, meaning that if customer’s order came, his break stopped and he had to

cook.

        59.70. From on or about September 055, 2016 tothrough on or about March 30, 2017,

Plaintiff LIYOU XING was paid a flat compensation at a straight-time rate of twelve dollars

($$12.00) per hour.

        60.71. From on or about March 31, 2017 to through on or about May 25, 2017 , Plaintiff

LIYOU XING was paid a flat compensation at a straight-time rate of twenty-two dollars ($$22.00)




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per hour.

         61.72. From on or about May 26, 2017 tothrough on or about June 22, 2017, Plaintiff

LIYOU XING was paid a flat compensation at a straight-time rate of sixteen dollars ($$16.00) per

hour.

         62.73. From on or about June 23, 2017 tothrough on or about June 30, 2017, Plaintiff

LIYOU XING was paid a flat compensation at a straight-time rate of thirty-five dollars

($$35.20)00 per hour for each hour worked.

         63.74. HoweverHowever, during the period from on or about September 5, 2016 through

on or about June 30, 2017, Plaintiff LIYOU XING was not paid for all hours worked at all relevant

times.

         64.75. Specifically, from March 03, 2017 to March 16, 2017, Plaintiff LIYOU XING was

only paid for fifty two (52) hours per week, even though he worked in excess of fifty two (52)66.5

hours per week.

         65.76. From March 17, 2017 to March 30, 2017, he was paid for only forty nine (49) hours

per week, even though he worked in excess of forty nine (49)66.5 hours per week.

         66.77. From March 31, 2017 to June 30, 2017, he was paid for only forty (40) hours per

week, even though he worked in excess of forty (40)60 or more hours per week.

         67.78. From on or about July 01, 2017 to through on or about July 31, 2017, Plaintiff

LIYOU XING was paid a flat compensation at a rate of three thousand six hundred ninety-six

dollars ($salary of $3,696.00) per month.

         68.79. From on or about August 01, 2017 to through on or about August 31, 2017, Plaintiff

LIYOU XING was paid a flat compensation at a rate of four thousand forty-eight dollars ($salary

of $4,048.00) per month.




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        69.80. From on or about September 01, 2017 tothrough on or about September 30, 2017,

Plaintiff LIYOU XING was paid a flat compensation at a rate of three thousand six hundred ninety-

six dollars ($salary of $3,696.00) per month.

        70.81. From on or about October 01, 2017 tothrough on or about July 31, 2018, Plaintiff

LIYOU XING was paid a flat compensation at a rate of three thousand eight hundred seventy-two

dollars ($salary of $3,872.00) per month.

        71.82. From on or about August 01, 2018 to August 15, 2018, Plaintiff LIYOU XING was

paid a flat compensation 9at a ratesalary of three thousand two hundred seventy-six dollars

($$3,276.00) per month.

        72.    At all relevant times, Plaintiff LIYOU XING was not paid overtime pay for

overtime work.

        73.    At all relevant times, Plaintiff LIYOU XING was never informed of his Dur-

ing the period when he was paid an hourly pay rate or any tip deductions toward the minimum

wage.

        74.83. Throughout his employment, Plaintiff LIYOU XING, he was not given a statement            Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                        Right: 0"
with his weekly payment reflecting employee’s name, employer’s name, employer’s address and

telephone number, employee’s rate or rates of pay, any deductions made from employee’s wages,

any allowances claimed as part of the minimum wage, and the employee’s gross and net wages

paid at his straight-time rate for each pay day in Chinese, Plaintiff’s native languagethose overtime

hours for which he was paid. During the period when he was paid a monthly salary, his monthly

salary did not include an overtime premium.

        75.    Throughout his employment, Plaintiff LIYOU XING was not compensated at                   Formatted: All caps

least at one-and-one-half his promised hourly wage for all hours worked above forty (40) in




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each workweek.

        76.84. Throughout his employment, Plaintiff LIYOU XING was not compensated forpaid         Formatted: Justified, Indent: Left: 0", First line: 0.5",
                                                                                                   Right: 0"
New York’s “spread of hours” premium for shifts that lasted longer than ten (10) hours at his

promised ratethe higher of the minimum wage or his regular hourly wage.

        85.    At all relevant times, Plaintiff LIYOU XING was not provided a written wage no-

tice compliant with Section 195.1(a) of the NYLL.

        86.    Throughout his employment, Plaintiff LIYOU XING was not provided paystubs

compliant with Section 195.1(d) of the NYLL.

Plaintiff YUANYUAN DUAN

        87.    From on or about November 5, 2016 through on or about November 26, 2017,

Plaintiff YUANYUAN DUAN was employed by Defendants as a miscellaneous worker at the

Mayflower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        88.    From on or about March 2, 2018 through on or about May 31, 2018, Plaintiff

YUANYUAN DUAN was employed by Defendants as a miscellaneous worker at the Mayflower

Hotel at 61-27 186th Street, Fresh Meadows, NY 1136.

        89.    In her role as a miscellaneous worker, Plaintiff YUANYUAN DUAN cleaned rub-

bish, cleaned washrooms, cooked food, washed dishes, and gave the bosses massages.

        90.    From on or about November 5, 2016 through on or about March 2, 2017, Plaintiff

YUANYUAN DUAN’s regular work schedule ran from 08:00 to 17:00, with one 1-hour meal

break at about 12:00, for 8 hours per day, 6 days per week, for a total of 48 hours per week.

        91.    From on or about March 3, 2017 through on or about November 26, 2017, Plaintiff

YUANYUAN DUAN’s regular work schedule ran from 09:00 to 18:00, with one 1-hour meal

break at about 12:00, for 8 hours per day, 5 days per week, and from 13:00 to 18:00, for 5 hours

per day, for a total of 45 hours per week.


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        92.    From on or about March 2, 2018 through on or about May 31, 2018 Plaintiff

YUANYUAN DUAN’s regular work schedule ran from 09:00 to 18:00, with one 1-hour meal

break at about 12:00, for 8 hours per day, 5 days per week, and from 13:00 to 18:00, for 5 hours

per day, for a total of 45 hours per week.

        93.    From on or about November 5, 2016 through on or about February 28, 2017, Plain-

tiff YUANYUAN DUAN was paid at a straight-time rate of $10.00 per hour.

        94.    From on or about March 1, 2017 through on or about May 31, 2017, Plaintiff

YUANYUAN DUAN was paid at a straight-time rate of $11.00 per hour.

        95.    From on or about June 1, 2017 through on or about November 26, 2017, Plaintiff

YUANYUAN DUAN was paid at a straight-time rate of $13.00 per hour.

        96.    From on or about March 2, 2018 through on or about May 31, 2018, Plaintiff

YUANYUAN DUAN was paid at a straight-time rate of $13.00 per hour.

        97.    However, Plaintiff YUANYUAN DUAN was paid only at her straight-time rate for

overtime hours.

        98.    At all relevant times, Plaintiff YUANYUAN DUAN was not provided a written

wage notice compliant with Section 195.1(a) of the NYLL.

        99.    Throughout his employment, Plaintiff YUANYUAN DUAN was not provided

paystubs compliant with Section 195.1(d) of the NYLL.

Plaintiff HUALIANG LI

        100.   From on or about February 1, 2017 through on or about May 31, 2017, Plaintiff

HUALIANG LI was employed by Defendants as a chef at the affiliated restaurant (Wyndham

Garden) inside the Mayflower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        101.   Throughout his employment, Plaintiff HUALIANG LI’s regular work schedule ran

from 06:00 to 15:00 for 9 hours per day, 5 days per week, for a total of 45 hours each week.


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        102.   Plaintiff HUALIANG LI had a 30-minute meal break, during which he was on call

to work.

        103.   Throughout his employment, Plaintiff HUALIANG LI was paid at a straight-time

rate of $11.00 per hour.

        104.   However, Plaintiff HUALIANG LI was paid only at her straight-time rate for

overtime hours.

        105.   At all relevant times, Plaintiff YUANYUAN DUAN was not provided a written

wage notice compliant with Section 195.1(a) of the NYLL.

        106.   Throughout his employment, Plaintiff YUANYUAN DUAN was not provided

paystubs compliant with Section 195.1(d) of the NYLL.

Plaintiff WINGKIT LOI

        107.   From on or about August 1, 2014 through on or about June 30, 2015, Plaintiff

WINGKIT LOI was employed by Defendants as a construction worker at the Howard Johnson

Hotel at 38-59 12th Street, Long Island City, NY 11101.

        108.   From on or about July 3, 2015 through on or about August 15, 2017, Plaintiff

WINGKIT LOI was employed by Defendants as a construction worker and mechanic at the May-

flower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        109.   From on or about August 1, 2014 through on or about June 30, 2015, Plaintiff

WINGKIT LOI’s regular work schedule ran from 09:00 to 18:00 with one 1-hour break at around

12:00 for 8 hours per day, 5 days per week, for 40 hours per week.

        110.   From on or about July 3, 2015 through on or about Marcy 1, 2017, Plaintiff

WINGKIT LOI’s regular work schedule ran from 07:00 to 16:00 with one 1-hour break at around

12:00, 8 hours per day, 6 days per week, for 48 hours per week.

        111.   However, additionally, from on or about July 3, 2015 through on or about March 1,


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2017 Plaintiff WINGKIT LOI regularly worked about 4 unscheduled hours per week, for a total

of 52 hours per week.

        112.   From on or about March 2, 2017 through on or about July 23, 2017, Plaintiff

WINGKIT LOI’s regular work schedule ran from 09:00 to 18:00 with one 1-hour break at around

12:00, 8 hours per day, 5 days per week, for 40 hours per week.

        113.   However, additionally, from on or about March 2, 2017 through on or about July

23, 2017 Plaintiff WINGKIT LOI regularly worked about 1 unscheduled hour per week, for a total

of 41 hours per week.

        114.   Throughout his employment, Plaintiff WINGKIT LOI was paid at a flat rate of

$160.00 per day.

        115.   However, Defendants partially or totally missed several payments, amounting to

$3,700.00 over the course of Plaintiff WINGKIT LOI’s employment.

        116.   At all relevant times, Plaintiff WINGKIT LOI was not paid overtime pay for over-

time work. His daily salary did not include an overtime premium.

        117.   Throughout his employment, Plaintiff WINGKIT LOI was not paid New York’s

“spread of hours” premium for shifts that lasted longer than ten (10) hours at the higher of the

minimum wage or his regular hourly wage.

        118.   At all relevant times, Plaintiff WINGKIT LOI was not provided a written wage

notice compliant with Section 195.1(a) of the NYLL.

        119.   Throughout his employment, Plaintiff WINGKIT LOI was not provided paystubs

compliant with Section 195.1(d) of the NYLL.

Plaintiff SHUK C NG-LAM

        120.   From on or about August 1, 2016 through on or about January 31, 2018, Plaintiff

SHUK C NG-LAM was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-


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27 186th Street, Fresh Meadows, NY 11365.

        121.   Throughout her employment, Plaintiff SHUK C NG-LAM’s regualr work schedule

ran from 09:00 to 19:00 with one 1-hour break at around 13:00 for 9 hours per day, 5 days per

week, for 45 hours per week.

        122.   From on or about August 1, 2016 through on or about March 31, 2017, Plaintiff

SHUK C NG-LAM was paid a regular straight-time rate of $10.00 per hour.

        123.   From on or about April 1, 2017 through on or about January 31, 2018, Plaintiff

SHUK C NG-LAM was paid a regular straight-time rate of $11.00 per hour.

        124.   These rates amounted to less than the applicable minimum wage in New York be-

tween December 31, 2016 and March 31, 2017 (inclusive), and between December 31, 2017 and

January 31, 2018 (inclusive).

        125.   Plaintiff SHUK C NG-LAM was not informed of any lawful credit or deduction

that would lawfully bring her hourly rate below the minimum wage.

        126.   Further, Plaintiff SHUK C NG-LAM was paid only at her straight-time rate for

overtime hours.

        127.   At all relevant times, Plaintiff SHUK C NG-LAM was not provided a written wage

notice compliant with Section 195.1(a) of the NYLL.

        128.   Throughout his employment, Plaintiff SHUK C NG-LAM was not provided

paystubs compliant with Section 195.1(d) of the NYLL.

Plaintiff JUNHUI YAN

        129.   From on or about August 24, 2016 through on or about August 20, 2018, Plaintiff

JUNHUI YAN was employed by Defendants as a mechanic and manager’s assistant at the May-

flower Hotel at 61-27 186th Street, Fresh Meadows, NY 11365.

        130.   From on or about August 1, 2017 through on or about August 20, 2017, Plaintiff


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JUNHUI YAN was transferred temporarily by Defendants to work as a mechanic and manager’s

assistant at the Howard Johnson Hotel at 38-59 12th Street, Long Island City, NY 11101.

        131.   Throughout his employment, Plaintiff JUNHUI YAN’s regular work schedule ran

from 09:00 to 18:00 with one 1-hour break, for 8 hours per day, 5 days per week, for 40 hours per

week.

        132.   However, for about 4 weeks of his employment, Plaintiff JUNHUI YAN worked

an additional 8-hour day, for 48 hours per week.

        133.   From on or about August 24, 2016 through on or about December 31, 2016, Plain-

tiff JUNHUI YAN was paid a straight-time regular rate of $12.00 per hour.

        134.   From on or about January 1, 2017 through on or about August 20, 2018, Plaintiff

JUNHUI YAN was paid a straight-time regular rate of $15.00 per hour.

        135.   However, for the 4 weeks he worked additional time, Plaintiff JUNHUI YAN was

not paid for that additional time, and was not paid an overtime premium.

        136.   At all relevant times, Plaintiff JUNHUI YAN was not provided a written wage no-

tice compliant with Section 195.1(a) of the NYLL.

        137.   Throughout his employment, Plaintiff JUNHUI YAN was not provided paystubs

compliant with Section 195.1(d) of the NYLL.

Plaintiff JUNHUA YU

        138.   From on or about September 17, 2017 through on or about August 2, 2018, Plaintiff

JUNHUA YU was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-27

186th Street, Fresh Meadows, NY 11365.

        139.   From on or about August 3, 2018 through on or about February 28, 2019, Plaintiff

JUNHUA YU was employed by Defendants as a housekeeper at the Howard Johnson Hotel at 38-

59 12th Street, Long Island City, NY 11101.


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        140.   Throughout her employment, Plaintiff JUNHUA YU’s regular work schedule ran

either from 09:00 to 18:00 (early shift) or from 13:00 to 22:00 (late shift), both shifts with one 1-

hour break, for 8 hours per day, 5 days per week about every 7 of 10 weeks and 6 days per week

about every 3 of 10 weeks, for 40 hours per week about 70% of the time and 48 hours per week

about 30% of the time.

        141.   From on or about September 17, 2017 through on or about August 2, 2018, Plaintiff

JUNHUA YU was paid a regular straight-time rate of $17.00 per hour.

        142.   From on or about August 3, 2018 through on or about February 28, 2019, Plaintiff

JUNHUA YU was paid a regular straight-time rate of $14.00 per hour.

        143.   However, Plaintiff JUNHUA YU was paid only at her straight-time rate for

overtime hours.

        144.   At all relevant times, Plaintiff JUNHUA YU was not provided a written wage no-

tice compliant with Section 195.1(a) of the NYLL.

        145.   Throughout his employment, Plaintiff JUNHUA YU was not provided paystubs

compliant with Section 195.1(d) of the NYLL.

Plaintiff AMANDA LIU

        146.   From on or about September 6, 2016 through on or about February 28, 2017, Plain-

tiff AMANDA LIU was employed by Defendants as a sanitation worker at the Mayflower Hotel

at 61-27 186th Street, Fresh Meadows, NY 11365.

        147.   From on or about March 1, 2017 through on or about March 31, 2017, Plaintiff

AMANDA LIU was employed by Defendants as a housekeeper at the Mayflower Hotel at 61-27

186th Street, Fresh Meadows, NY 11365.

        148.   Throughout her employment, Plaintiff AMANDA LIU’s regular work schedule ran

from 09:00 to 18:00 with one 1-hour break at around 12:00, 8 hours per day, 5 days per week, for


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40 hours per week.

        149.   However, in addition to Plaintiff AMANDA LIU’s regular schedule cleaning the

hotel, Defendant WEI HONG HU required her to clean her private house about 3 times over the

course of her employment, for a total of 19 hours (about 6 hours each time). Plaintiff AMANDA

LIU was not paid for this time.

        150.   Throughout her employment, Plaintiff AMANDA LIU was paid a straight-time

hourly rate of $11.00 per hour.

        151.   At all relevant times, Plaintiff AMANDA LIU was not provided a written wage

notice compliant with Section 195.1(a) of the NYLL.

        152.   Throughout her employment, Plaintiff AMANDA LIU was not provided paystubs

compliant with Section 195.1(d) of the NYLL.

                         COLLECTIVE ACTION ALLEGATIONS                                              Formatted: Indent: First line: 0", Right: 0", Space After:
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        77.153.       Plaintiff bringsThe FLSA-and-NYLL Plaintiffs bring this action individu-

ally and as class representative individually and on behalf of all other and former non-exempt

employees who have been or were employed by the Defendants for up to the last three (3) years,

through entry of judgment in this case (the “Collective Action Period”) and whom were not com-

pensated at their promised hourly ratethe minimum wage for all hours worked and at one and one

half times their promised workthe minimum wage for all hours worked in excess of forty (40)

hours per week (the “Collective Action Members”).

                              CLASS ACTION ALLEGATIONS

        78.154.       Plaintiff brings hisPlaintiffs bring their NYLL claims pursuant to Rule 23    Formatted: Font: Times New Roman

of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”) Rule 23, on behalf of all non-exempt

personnel employed by Defendants on or after the date that is six6 years before the filing of the

Complaint in this case as defined herein (the “Class Period”).


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        79.155.        All said persons, including Plaintiff, are referred to herein as the “Class.”

        80.156.        The Class members are readily ascertainable. The number and identity of

the Class members are determinable from the records of Defendants. The hours assigned and

worked, the positions held, and the rate of pay for each Class Membermember is also determinable

from Defendants’ records. For purpose of notice and other purposes related to this action, their

names and addresses are readily available from Defendants. Notice can be provided by means

permissible under said Fed. R. Civ. P.Rule 23.

Numerosity                                                                                               Formatted: No underline
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        81.157.        The proposed Class is so numerous that joinder of all members is impracti-

cable, and the disposition of their claims as a class will benefit the parties and the Court. Although

the precise number of such persons is unknown, and the facts on which the calculation of the

number is presently within the sole control of the Defendants, upon information and belief, there

are more than forty (40) members of the class.

Commonality                                                                                              Formatted: No underline
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        82.158.        There are questions of law and fact common to the Class which predominate

over any questions affecting only individual classClass members, including:

               a.      Whether Defendant employed PlaintiffPlaintiffs and the Class within the           Formatted: Font: Times New Roman

        meaning of the New York law;

               b.      Whether PlaintiffPlaintiffs and the Class members arewere paid the higher         Formatted: Font: Times New Roman

        of the minimum wage or their promised and not paid straight-time hourly wage for all hours

        worked;

               c.      Whether PlaintiffPlaintiffs and the Class members arewere entitled to and         Formatted: Font: Times New Roman

        paid overtime at their promised hourly wage under the New York Labor Law;

               d.      Whether Defendants maintained a policy, pattern and/or practice of failing


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        to pay PlaintiffPlaintiffs and the Rule 23 Class members spread- of- hours pay as required      Formatted: Font: Times New Roman

        by the NYLL;

               e.      Whether PlaintiffPlaintiffs and Class members’ paystubsthe Class members

        were provided wage statements, and if they were, whether those wage statements did not

        misstate the number of hours that they worked;

        f.     Whether Defendants maintained a policy, pattern and/or practice of failing to

provide requisite statutory meal periods;

        g.     Whether Defendants provided a Time of Hire Notice detailing rates of pay and

payday at the start of PlaintiffPlaintiffs and the Rule 23 Class’s start of employment and/or           Formatted: Font: Times New Roman

timely thereafter;

               h.f.    Whether DefendantsClass members were provided paystubs detailing wage            Formatted: Justified, Indent: Left: 0.5", First line: 0.5",
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        notices timely and compliant with Section 195.1(a) of the rates of pay and credits taken

        towards the minimum wage to Plaintiff and the Rule 23 class on each payday; andNYLL;

        and

               i.g.    At what common rate, or rates subject to common method of calculation

        was, were and isare Defendants required to pay the Class members for their work.

Typicality                                                                                              Formatted: No underline
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        83.159.        Plaintiff'sPlaintiffs’ claims are typical of those claims which could be al-
                                                                                                        Formatted: Font: Times New Roman
leged by any member of the Class, and the relief sought is typical of the relief that would be sought

by each member of the Class in separate actions. All the Class members were subject to the same

corporate practices of Defendants, as alleged herein, of failing to pay minimum wage or overtime

compensation.. Defendants’ corporateenterprise-wide policies and practices affected all Class

members similarly, and Defendants benefitted from the same type of unfair and/or wrongful acts

as to each Class member. PlaintiffPlaintiffs and other Class members sustained similar losses,          Formatted: Font: Times New Roman



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injuries and damages arising from the same unlawful policies, practices and procedures.

Adequacy                                                                                                   Formatted: No underline
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        84.160.        Plaintiff isPlaintiffs are able to fairly and adequately protect the interests of
                                                                                                           Formatted: Font: Times New Roman
the Class and have no interests antagonistic to the Class. Plaintiff isPlaintiffs are represented by       Formatted: Font: Times New Roman

attorneys who are experienced and competent in representing Plaintiffsplaintiffs in both class ac-

tion and wage-and-hour employment litigation cases.

Superiority                                                                                                Formatted: No underline
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        85.161.        A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, particularly in the context of wage-and-hour litigation where in-

dividual Class members lack the financial resources to vigorously prosecute a lawsuit against cor-

porate defendants. Class action treatment will permit a large number of similarly situated persons

to prosecute their common claims in a single forum simultaneously, efficiently and without the

unnecessary duplication of efforts and expenses that numerous individual actions engender. Be-

cause the losses, injuries and damages suffered by each of the individual Class members are small

in the sense pertinent to a class action analysis, the expenses and burden of individual litigation

would make it extremely difficult or impossible for the individual Class members to redress the

wrongs done to them. Further, important public interests will be served by addressing the matter

as a class action. The adjudication of individual litigation claims would result in a great expendi-

ture of Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of the

Class would create a risk of inconsistent and/or varying adjudications with respect to the individual

members of the Class, establishing incompatible standards of conduct for Defendants and resulting

in the impairment of Class members’ rights and the disposition of their interests through actions

to which they were not parties. The issues in this action can be decided by means of common,


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class-wide proof. In addition, if appropriate, the Court can, and is empowered to, fashion methods

to efficiently manage this action as a class action.

        86.162.        Upon information and belief, Defendants and other employers throughout

the state violate the New York Labor Law. Current employees are often afraid to assert their rights

out of fear of direct or indirect retaliation. Former employees are fearful of bringing claims because

doing so can harm their employment, future employment, and future efforts to secure employment.

Class actions provide class members who are not named in the complaint a degree of anonymity

which allows for the vindication of their rights while eliminating or reducing these risks.

                                   STATEMENT OF CLAIMS

                                                                                                         Formatted: Right: 0"
  [Violations of the Fair Labor Standards Act—UnpaidFailure to Pay Minimum Wages
  Brought on behalf of the PlaintiffFLSA-and-NYLL Plaintiffs and the FLSA Collective]                    Formatted: Font: Times New Roman, Bold

        87.163.        PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by reference     Formatted: Font: Times New Roman
                                                                                                         Formatted: Indent: Left: 0", First line: 0.5", Right: 0"
all preceding paragraphs as though fully set forth herein.

        88.164.        At all relevant times, Defendants had a policy and practice of refusing to

pay Plaintiff in fullPlaintiffs, and the similarly situated collective actionCollective members, min-

imum wage for some or all of the hours they worked.

        89.165.        The FLSA provides that any employer who violates the provisions of 29

U.S.C. § 206 shall be liable to the employees affected in the amount of their unpaid wage, and in

an additional equal amount as liquidated damages.

        90.166.        Defendants knowingly and willfully disregarded the provisions of the FLSA

as evidenced by failing to compensate PlaintiffPlaintiffs and Collective Class Membersmembers            Formatted: Font: Times New Roman

at the statutory minimum wage when they knew or should have known such was due and that

failing to do so would financially injure Plaintiff and Collective Action members.




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                                                                                                        Formatted: Right: 0"
        [Violation of New York Labor Law—UnpaidFailure to Pay Minimum Wages
                Brought on behalf of PlaintiffPlaintiffs and Rule 23the Class]

        91.167.        PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by reference    Formatted: Indent: Left: 0", First line: 0.5", Right: 0"
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all preceding paragraphs as though fully set forth herein.
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        92.168.        At all relevant times, Plaintiff isPlaintiffs were employed by Defendants        Formatted: Font: Times New Roman

within the meaning of New York Labor Law §§ 2 and 651.

        93.169.        At all relevant times, Defendants had a policy and practice of refusing to

pay Plaintiff, and the collective action members, in fullPlaintiffs, and the Class, the higher of the

minimum wage or their regular hourly wage for some or all of the hours they worked.

        94.170.        Defendants knowingly and willfully violated Plaintiff’sPlaintiffs’ and sim-

ilarly situated Class Members’members’ rights by failing to pay him minimum wages in the law-

ful amount for hours worked.

        95.171.        An employer who fails to pay the minimum wage shall be liable, in addi-

tion to the amount of any underpayments, for liquidated damages equal to twenty five percent

(25%)100% of the shortfall under NYLL §§ 190 et seq., §§ 650 et seq., and one hundred percent

(100%) after April 9, 2011 under NY Wage Theft Prevention Act, and interest.

                                                                                                        Formatted: Right: 0"
         [Violations of the Fair Labor Standards Act—Failure to Pay Overtime
  Brought on behalf of the PlaintiffFLSA-and-NYLL Plaintiffs and the FLSA Collective]

        96.172.        PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by reference    Formatted: Font: Times New Roman
                                                                                                        Formatted: Font: Times New Roman
all preceding paragraphs as though fully set forth herein.
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        97.173.        The FLSA provides that no employer engaged in commerce shall employ a

covered employee for a work week longer than forty (40) hours unless such employee receives

compensation for employment in excess of forty (40) hours at a rate not less than one and one-half

times the regular rate at which he is employed, or one and one-half times the minimum wage,


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whichever is greater. 29 U.S.C. § 207(a).

         98.174.       The FLSA provides that any employer who violates the provisions of 29

U.S.C. § 207 shall be liable to the employees affected in the amount of their unpaid overtime

compensation, and in an additional equal amount as liquidated damages. 29 USC § 216(b).

         99.175.       Defendants’ failure to pay PlaintiffPlaintiffs and the FLSA Collective             Formatted: Font: Times New Roman

theirmembers overtime pay violated the FLSA.

         100.176.      At all relevant times, Defendants had, and continue to have, a policy of

practice of refusing to pay overtime compensation at the statutory rate of time and a half to Plaintiff

and Collective Action Membersmembers for all hours worked in excess of forty (40) hours per

workweek, which violated and continues to violate the FLSA, 29 U.S.C. §§ 201, et seq., including

29 U.S.C. §§ 207(a)(1) and 215(a).

         101.177.      The FLSA and supporting regulations required employers to notify employ-

ees of employment law requires employers to notify employment law requirements. 29 C.F.R. §

516.4.

         102.178.      Defendants willfully failed to notify PlaintiffPlaintiffs and FLSA Collective      Formatted: Font: Times New Roman

members of the requirements of the employment laws in order to facilitate their exploitation of

Plaintiff’Plaintiffs’ and FLSA Collectives’Collective members’ labor.

         103.179.      Defendants knowingly and willfully disregarded the provisions of the FLSA

as evidenced by their failure to compensate PlaintiffPlaintiffs and Collective Class Membersmem-          Formatted: Font: Times New Roman

bers the statutory overtime rate of time and one half for all hours worked in excess of forty (40)

per week when they knew or should have known such was due and that failing to do so would

financially injure PlaintiffPlaintiffs and Collective Action members.                                     Formatted: Font: Times New Roman




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                                                                                                       Formatted: Right: 0"
                [Violation of New York Labor Law—Failure to Pay Overtime
                Brought on behalf of PlaintiffPlaintiffs and Rule 23the Class]

         104.180.      PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by reference   Formatted: Font: Times New Roman
                                                                                                       Formatted: Indent: Left: 0", First line: 0.5", Right: 0"
all preceding paragraphs as though fully set forth herein.
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         105.181.      An employer who fails to pay the minimum wageovertime shall be liable,

in addition to the amount of any underpayments, for liquidated damages equal to twenty-five per-

cent (25%) before April 9, 2011 and one hundred percent (100%) thereafter% of the shortfall under

NY Wage Theft Prevention Act, and interest.

         106.182.      At all relevant times, Defendants had a policy and practice of refusing to

pay the overtime compensation to PlaintiffPlaintiffs and the Class at one and one-half times the       Formatted: Font: Times New Roman

hourly rate the PlaintiffPlaintiffs and the classClass members are entitled to.                        Formatted: Font: Times New Roman

         107.183.      Defendant’ failure to pay Plaintiff hisPlaintiffs and the Class overtime pay    Formatted: Font: Times New Roman

violated the NYLL.

         108.184.      Defendants’ failure to pay PlaintiffPlaintiffs and the Class was not in good    Formatted: Font: Times New Roman

faith.

                                                                                                       Formatted: Right: 0"
         [Violation of New York Labor Law—Failure to Pay Spread of Time PayHours
                  Brought on behalf of PlaintiffPlaintiffs and Rule 23the Class]

         109.185.      PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by reference   Formatted: Indent: Left: 0", First line: 0.5", Right: 0"
                                                                                                       Formatted: Font: Times New Roman
all preceding paragraphs as though fully set forth herein.
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         110.186.      The NYLL requires employers to pay an extra hour’s pay for every day that

an employee works an interval in excess of ten hours pursuant to NYLL §§ 190, et seq., and §§

650, et seq., and New York State Department of Labor regulations § 146-1.6.

         111.187.      Defendants’ failure to pay PlaintiffPlaintiffs spread-of-hours pay was not in   Formatted: Font: Times New Roman

good faith.


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        [Violation of New York Labor Law—Failure to Provide Meal PeriodsWage Notices
                   Brought on behalf of PlaintiffPlaintiffs and the Rule 23 Class]

          112.188.      PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by refer-   Formatted: Font: Times New Roman
                                                                                                     Formatted: Font: Times New Roman
ence all preceding paragraphs as though fully set forth herein.

          113.   The NYLL requires that employees provide: a noon day meal period of at least

thirty (30) minutes for employees who work a shift of more than six hours extending over the

noon day meal period from 11 a.m. to 2 p.m.; an additional meal period between 5 p.m. and 7

p.m. of at least twenty (20) minutes for employees whose shift started before 11 a.m. and con-

tinues later than 7 p.m.; and/or a forty-five (45) minute meal period at a time midway between

the beginning and end of the shift for employees whose shift lasts more than six hours and

starts between 1 p m. and 6 a.m. NYLL § 162.

          114.   Defendants failed to provide meal periods required by NYLL § 162 for every

day that Plaintiff worked.

          115.   Though the Department of Labor commissioner may permit a shorter time to

be fixed for meal periods than hereinbefore provided, such permit must be in writing and be

kept conspicuously posted in the main entrance of the establishment. No such permit is

posted.

          116.   Defendants’ failure to provide the meal periods required by NYLL § 162 was

not in good faith.


                 [Violation of New York Labor Law—Failure to Keep Records
                        Brought on behalf of Plaintiff and Rule 23 Class]

          118.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

          119.   Defendants did not maintain, establish and preserve Plaintiff's weekly payroll


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records for a period of not less than six years, as required by NYCRR § 146-2.1.

        120.    As a result of Defendants’ unlawful conduct, Plaintiff has sustained damages

including loss of earning, in an amount to be established at trial, liquidated damages, prejudg-

ment interest, costs and attorneys’ fee, pursuant to the state law.

        121.    Upon information and belief, Defendants failed to maintain adequate and accu-

rate written records of actual hours worked and true wages earned by Plaintiff in order to fa-

cilitate their exploitation of Plaintiff's labor.

        122.    Defendants’ failure to maintain adequate and accurate written records of actual

hours worked and true wages earned by Plaintiff were not in good faith.


   [Violation of New York Labor Law—Failure to Provide Time of Hire Wage Notice
                    Brought on behalf of Plaintiff and Rule 23 Class]

        124.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

        125.189.        The NYLL and supporting regulations requireThe NYLL requires em-

ployers to provide written notice of the rate or rates of pay and the basis thereof, whether paid

by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed

as a part of minimum wage, including tip, meal, or lodging allowances; the regular pay day

designated by the employer; the name of the employer; any “doing business as” names used by

the employer; the physical address of employer’s main office or principal place of business,

and a mailing address if different; the telephone number of the employer. NYLLN.Y. Lab. L.

§195-.1(a).

        126.190.        Defendants intentionally failed to provide notice to employees in viola-

tion of New York Labor Law §Section 195.1 of the NYLL, which requires all employers to

provide written notice in the employee’s primary language about the terms and conditions of


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employment related to rate of pay, regular pay cycle and rate of overtime on their or her first

day of employment.

        127.191.        Defendants not only did not provide notice to each employee at Time-

time of Hirehire, but failed to provide notice to PlaintiffPlaintiffs even after the fact.           Formatted: Font: Times New Roman

        128.192.        Due to Defendants’ violations of New York Labor Law, Plaintiff isPlain-

tiffs are entitled to recover from Defendants, jointly and severally, $50.00 for each workday

that the violation occurred or continued to occur, up to $5,000.00, together with costs and at-

torneys’ fees pursuant to New York Labor Law.NYLL. N.Y. Lab. Law § 198(1-b).

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          [Violation of New York Labor Law—Failure to Provide Wage Statements
                Brought on behalf of PlaintiffPlaintiffs and Rule 23the Class]

        129.193.        PlaintiffPlaintiffs re-allegesallege and incorporatesincorporate by refer-   Formatted: Font: Times New Roman
                                                                                                     Formatted: Font: Times New Roman
ence all preceding paragraphs as though fully set forth herein.

        130.194.        The NYLL and supporting regulations requirerequires employers to pro-

vide detailed paystub information to employees every payday. NYLL § 195-.1(d).

        131.195.        Defendants have failed to make a good faith effort to comply with the

New York Labor Law with respect to compensation of each Plaintiff, and did not provide the

paystub on or after each Plaintiffs’ paydaypaydays.

        132.196.        Due to Defendants’ violations of New York Labor Law, Plaintiff

isPlaintiffs are entitled to recover from Defendants, jointly and severally, $250.00 for each        Formatted: Font: Times New Roman

workday of the violation, up to $5,000.00 for each Plaintiff together with costs and attorneys’

fees pursuant to New York Labor Law.NYLL. N.Y. Lab. Law §198(.1-(d).




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                                     PRAYER FOR RELIEF                                                   Formatted: Indent: First line: 0", Right: 0", Space After:
                                                                                                          12 pt, Line spacing: single
        WHEREFORE, PlaintiffPlaintiffs, on behalf of himself,themselves and on the behalf of             Formatted: Justified, Space After: 0 pt

the FLSA Collective Plaintiffs and Rule 23 Class, respectfully requestsrequest that this Court

enter a judgment providing the following relief:

               a)      Authorizing PlaintiffPlaintiffs at the earliest possible time to give notice of   Formatted: Justified, Indent: Left: 0.5", First line: 0.5",
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        this collective action, or that the Court issue such notice, to all persons who are presently,

        or have up through the extent allowable under the statute of limitations and including the

        date of issuance of court-supervised notice, been employed by Defendants as non-exempt

        employees. Such notice shall inform them that the civil notice has been filed, of the nature

        of the action, of his right to join this lawsuit if they believe they were denied premium

        overtime wages;

               b)      Certification of this case as a collective action pursuant to FLSA;

               c)      Issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

        members of the FLSA opt-in class, apprising them of the pendency of this action, and per-

        mitting them to assert timely FLSA claims and state claims in this action by filing individ-

        ual Consent to Sue forms pursuant to 29 U.S.C. § 216(b), and appointing PlaintiffPlaintiffs

        and their counsel to represent the Collective Action Members;

               d)      A declaratory judgment that the practices complained of herein are unlawful

        under FLSA and New York Labor Law;

               e)      An injunction against Corporate Defendants, its officers, agents, successors,

        employees, representatives and any and all persons acting in concert with them as provided

        by law, from engaging in each of unlawful practices and policies set forth herein;

               f)      An award of unpaid minimum wage and overtime wages due under FLSA

        and New York Labor Law due PlaintiffPlaintiffs and the Collective Action members plus


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        compensatory and liquidated damages in the amount of twenty five percent (25%) prior to

        April 9, 2011 and one hundred percent (100%) thereafter under NY Wage Theft Prevention

        Act;

               g)     An award of liquidated and/or punitive damages as a result of Defendants’

        knowing and willful failure to pay wages at least the hourly minimum wage, overtime

        compensation pursuant to 29 U.S.C. §216;

               h)     Up to five thousand dollars ($$5,000).00 per Plaintiff for Defendants’ fail-

        ure to provide a Time of Hire Noticewage notice detailing rates of pay and payday;

               i)     Up to five thousand dollars ($$5,000).00 per Plaintiff for Defendants’ fail-

        ure to provide a paystub that lists employee’s name, employer’s name, employer’s address

        and telephone number, employee’s rate or rates of pay, any deductions made from em-

        ployee’s wages, any allowances claimed as part of the minimum wage, and the employee’s

        gross and net wages for each pay day;

               j)     An award of liquidated and/or punitive damages as a result of Defendants’

        willful failure to overtime compensation, and “spread of hours” premium pursuant to New

        York Labor Law;

               k)     An award of costs and expenses of this action together with reasonable at-

        torneys’ and expert fees pursuant to 29 U.S.C. §216(b) and NYLL §§198 and 663;

               l)     The cost and disbursements of this action;

               m)     An award of prejudgment and post-judgment fees;

               n)     Providing that if any amounts remain unpaid upon the expiration of ninety

        days following the issuance of judgment, or ninety days after expiration of the time to




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        appeal and no appeal is then pending, whichever is later, the total amount of judgment shall

        automatically increase by fifteen percent, as required by NYLL §198(4); and

               o)      Such other and further legal and equitable relief as this Court deems neces-

        sary, just, and proper.

Dated: Flushing, New York
       April 6, 2020

November 20, 2018
                                      TROY LAWTROY LAW, PLLC                                           Formatted: Small caps


                                      Attorneys for the PlaintiffPlaintiffs, proposed FLSA
                                                 Collective and potential Rule 23proposed Class        Formatted: Indent: Left: 3.25", Space After: 12 pt, Add
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                                       /s/ John Troy                                                   Formatted: Font: Italic


                                      John Troy (JT0481)
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